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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

STEPHEN KERSHNAR,

Plaintiff,
23-CV-525
-VS-

DECLARATION OF
STEPHEN H. KOLISON, JR., in his individual RICHARD DENHOLM II
capacity and his official capacity as the President
of the State University of New York at Fredonia, and

DAVID STARRETT, in his individual capacity and
official capacity as Executive Vice President and
Provost of the State University of New York at
Fredonia,

Defendants.

RICHARD DENHOLM II, declares under penalty of perjury that the following is true
and correct in accordance with 28 USC § 1746:

ly Iam currently employed as a Director with AIC Partners (“AIC”), a company
that, among other things, provides open-source intelligence analysis to various public sector
clients.

Qs I was employed by the Federal Bureau of Investigation (“FBI”) for over 22 years,
as a Special Agent and then a Supervisory Special Agent. I am a certified FBI law enforcement
instructor.

2 As a Supervisory Special Agent, I was in charge of offices that received threat
information and routinely conducted threat assessments, including threats to government

officials.
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4. I am also an attorney and began my career with the U.S. Federal Election
Commission as an enforcementattorney. I currently serve as adjunct faculty in the Department
of Criminology, Law and Society at George Mason University.

5s I hold a J.D. from the University of Akron School of Law and a B.A. in Political
Science from the University of Akron.

A1C’s Work for SUNY Fredonia

6. In August 2022, I was contacted by Brent Isaacson, a former colleague from the
FBI, about potentially providing open-source intelligence analysis regarding threats following
comments made by SUNY Fredonia Professor Stephen Kershnar regarding pedophilia.

a In September 2022, SUNY Fredonia executed a contract to retain AIC to conduct
research and provide a report regarding open source and publicly available information regarding
the Kershnar matter.

8. On September 21, 2022, I transmitted to Brent Isaacson a report titled “Open
Source Intelligence (OSINT) Product” with a report date of September 20, 2022 (“AIC Report”).
This is the only written report that AlC prepared in connection with the Kershnar matter.

9. The AIC Report consisted of an “internet scrub” of open-source intelligence
available regarding the response to Professor Kershnar’s comments regarding pedophilia.

10. The methodology of the A1C Report was to “identify and assess publicly
available information as it pertains to Professor Kershnar” and “[t]o identify social media
accounts for Professor Kershnar as they may be public-facing avenues for threats to be directed
to him and to Fredonia at large.”

11. The search of open-source intelligence was conducted by analysists employed by

AIC. The AIC Report notes that there was not an “immediate or imminent threat to the
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Fredonia campus, staff, students, or to Professor Kershnar found,” at the time the search was
conducted in September 2022.

12. AIC was not retained by SUNY Fredonia to provide behavioral analysis or an
overall threat assessment. The fact that no immediate threat was identified in September 2022 in
open-source data does not mean that Professor Kershnar’s return to campus would not pose a
threat. The AIC Report captured a snapshot in time as to the open-source data available
regarding the Kershnar matter in September 2022.

Kershnar’s Interpretation of the AlC Report

13. [have had an opportunity to review the Expert Rebuttal Report of J.A. “Tony”
Olivo, an expert retained by Professor Kershnar, as well testimony regarding the AIC Report
from the evidentiary hearing on September 13 and 14, 2023.

14. Based on my review of Mr. Olivo’s report, I understand that he reviewed the AIC
Report and believes that it “undermined” Brent Isaacson’s conclusion that returning Professor
Kershnar to campus would pose a significant security risk. Mr. Olivo’s conclusion is mistaken.
The AIC Report did not opine on the security environment that would exist if Professor
Kershnar was returned to campus in the future.

15. While the AIC Report did not identify an immediate threat to Professor Kershnar
or the SUNY Fredonia campus in September 2022, many of the comments that were identified in
the AIC Report as being posted in February 2022 are concerning to me because they show
behavioral leakage and the existence of a high threat environment in February 2022.

16. In particular the comment from February 6, 2022, stating “[a]nons I am a 2 hour
drive from fredonia and I willing to harass this [expletives] if you can help me get his address”

that is identified in the AlC Report is extremely concerning.
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17. The fact that online attention to the Kershnar situation waned after February 2022
does not mean that Professor Kershnar can be safely returned to campus and nothing in the AIC
Report should be interpreted to suggest the same.

18. If Professor Kershnar were to return to campus, my recommendation would be
that SUNY Fredonia engage in ongoing monitoring of open-source intelligence data for potential
threats to Professor Kershnar and the SUNY Fredonia campus at large.

19. Based on my training, experience and my work in connection with the AIC
Report, I believe that if Professor Kershnar were returned to campus a high threat environment
may exist, similar to what occurred in February 2022, creating a risk of violence to Professor

Kershnar and the SUNY Fredonia campus.

Dated: September 26, 2023

ea Ce

RICHARD DENHOLM II

